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                       UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION


COBBLESTONE WIRELESS, LLC,

              Plaintiff,                              Case No. 2:23-00455

       v.
                                                      JURY TRIAL DEMANDED
COMMSCOPE HOLDING COMPANY, INC.,
COMMSCOPE INC., ARRIS US HOLDINGS,
INC., ARRIS SOLUTIONS, INC., ARRIS
TECHNOLOGY, INC., ARRIS ENTERPRISES
LLC, ARRIS INTERNATIONAL LIMITED,
ARRIS GLOBAL LTD.,

              Defendants.


                   COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Cobblestone Wireless, LLC (“Cobblestone”) files this complaint against Defend-

ants CommScope Holding Company, Inc., CommScope, Inc., ARRIS US Holdings, Inc., ARRIS

Solutions, Inc., ARRIS Technology, Inc., and ARRIS Enterprises LLC, ARRIS International Lim-

ited, and ARRIS Global Ltd. (collectively, “CommScope”) alleging infringement of U.S. Patent

No. 7,924,802 (the “’802 patent”) (the “Patent-in-Suit” or “Asserted Patent”). Defendants ARRIS

US Holdings, Inc., ARRIS Solutions, Inc., ARRIS Technology, Inc., and ARRIS Enterprises LLC,

ARRIS International Limited, and ARRIS Global Ltd., and are collectively referred to as

“ARRIS.”

                     Plaintiff Cobblestone and the Patent-in-Suit

1.     Plaintiff Cobblestone Wireless, LLC is a limited liability company organized under the

laws of the State of Texas, with an address at 101 E. Park Blvd., Suite 600, Plano, Texas 75074.




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2.     Defendant CommScope Holding Company, Inc. is a corporation organized under the laws

of the State of Delaware, with its principal place of business at 1100 CommScope Place, SE, Hick-

ory, North Carolina 28602. CommScope has as its registered agent for service: United Agent

Group Inc., 3411 Silverside Road, Tatnall Building #104, Wilmington, DE, 19810.

3.     Defendant CommScope, Inc. is a corporation organized under the laws of the State of Del-

aware, with its principal place of business at 1100 CommScope Place, SE, Hickory, North Carolina

28602. CommScope, Inc. has as its registered agent for service: United Agent Group Inc., 3411

Silverside Road Tatnall Building #104, Wilmington, DE 19810. On information and belief,

CommScope, Inc. is a wholly owned subsidiary of CommScope Holding Company.

4.     Defendant ARRIS US Holdings, Inc. is a corporation organized under the laws of the State

of Delaware, with its principal place of business at 3871 Lakefield Drive, Suwanee, GA 30042.

ARRIS US Holdings, Inc. has as its registered agent for service: United Agent Group Inc., 3411

Silverside Road Tatnall Building #104, Wilmington, DE 19810. On information and belief, ARRIS

US Holdings, Inc. is a subsidiary of CommScope Holding Company.

5.     Defendant ARRIS Solutions, Inc. is a corporation organized under the laws of the State of

Delaware, with its principal place of business at 3871 Lakefield Drive, Suwanee, GA 30042.

ARRIS Solutions, Inc. has as its registered agent for service: United Agent Group Inc., 5444 Wes-

theimer #1000, Houston, TX 77056-3218. On information and belief, ARRIS Solutions, Inc. is a

subsidiary of CommScope Holding Company. ARRIS Solutions, Inc. has been registered to do

business in the state of Texas under Texas SOS file number 802879954.

6.     Defendant ARRIS Technology, Inc. is a corporation organized under the laws of the State

of Delaware, with its principal place of business at 3871 Lakefield Drive, Suwanee, GA 30042.

ARRIS Technology, Inc. has as its registered agent for service: United Agent Group Inc., 3411




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Silverside Road Tatnall Building #104, Wilmington, DE 19810. On information and belief, ARRIS

Technology, Inc. is a subsidiary of CommScope Holding Company.

7.     Defendant ARRIS Enterprises LLC is a limited liability company organized under the laws

of the State of Delaware, with its principal place of business at 3871 Lakefield Drive, Suwanee,

GA 30042. ARRIS Enterprises LLC has as its registered agent for service: United Agent Group

Inc., 3411 Silverside Road Tatnall Building #104, Wilmington, DE 19810. On information and

belief, ARRIS Enterprises LLC is a subsidiary of CommScope Holding Company.

8.     Defendant ARRIS International Limited is a private limited company duly organized and

existing under the laws of England and Wales. On information and belief, ARRIS International

Limited is a subsidiary of CommScope Holding Company.

9.     Defendant ARRIS Global Ltd. is a private limited company duly organized and existing

under the laws of England and Wales. On information and belief, ARRIS Global Ltd. is a subsid-

iary of CommScope Holding Company.

10.    CommScope Holding Company, Inc. acquired ARRIS in 2019. Upon information and be-

lief, CommScope Holding Company is the parent corporation of ARRIS.

11.    Upon information and belief, all Defendants are a single combined “CommScope” com-

pany. The online websites for Defendants are combined into a single “CommScope” presence. For

example, the ARRIS web domain (www.arris.com) re-directs the public to the CommScope web

domain (www.commscope.com).

                                  Jurisdiction and Venue

12.    This action arises under the patent laws of the United States, Title 35 of the United States

Code. This Court has original subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1338(a).




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13.    This Court has personal jurisdiction over CommScope in this action because CommScope

has committed acts of infringement within this District giving rise to this action, has a regular and

established place of business in this District, and has established minimum contacts with this forum

such that the exercise of jurisdiction over CommScope would not offend traditional notions of fair

play and substantial justice. CommScope, directly and/or through subsidiaries or intermediaries,

conducts its business extensively throughout Texas, by shipping, distributing, offering for sale,

selling, and advertising its products and/or services in the State of Texas and the Eastern District

of Texas, regularly does business or solicits business, engages in other persistent courses of con-

duct, and/or derives substantial revenue from products and/or services provided to individuals in

the State of Texas, and commits acts of infringement of Plaintiff’s Patent in this District by, among

other things, making, using, importing, offering to sell, and selling products and/or services that

infringe the Asserted Patent, including without limitation the 802.11ac and 802.11ax-compliant

station and access point products accused of infringement in this case offered by CommScope.

14.    CommScope, directly and/or through subsidiaries or intermediaries, has purposefully and

voluntarily placed one or more products and/or services in the stream of commerce that practice

the Asserted Patent with the intention and expectation that they will be purchased and used by

consumers in the Eastern District of Texas. These products and/or services have been and continue

to be purchased and used in the Eastern District of Texas.

15.    Venue as to CommScope is proper in this District under 28 U.S.C. §§ 1391 and 1400(b).

On information and belief, CommScope resides in this District and/or has committed acts of in-

fringement and has a regular and established place of business in this District.




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16.    For example, CommScope has regular and established places of business in the Eastern

District of Texas, including at 2601 Telecom Parkway, Richardson, Texas 75082, 11312 S. Pipe-

line Road, Euless, Texas 76040, and 4101 W. Military Highway A, McAllen, Texas 78053. Addi-

tionally, ARRIS has regular and established places of business in Texas, including at 4516 Seton

Center Pkwy, Austin, Texas 78759 and/or 5300 Hollister St., Houston, Texas 77040. Upon infor-

mation and belief, ARRIS maintained a regular and established place of business in Plano, Texas,

prior to its acquisition by CommScope in 2019.

17.    Venue is also proper in this District pursuant to 28 U.S.C § 1391(c)(3) on the basis that

ARRIS International Limited and ARRIS Global Ltd are not residents of the United States.

                Count 1 – Claim for infringement of the ’802 patent.

18.    Cobblestone incorporates by reference each of the allegations in paragraphs 1–17 above

and further alleges as follows:

19.    Plaintiff owns by assignment all rights, title, and interest in U.S. Patent No. 7,924,802 (the

“’802 Patent”), entitled “Wireless Communication Systems and Methods.” The ’802 Patent was

duly and legally issued by the United States Patent and Trademark Office on April 12, 2011. A

true and correct copy of the ’802 Patent is attached as Exhibit 1.

20.    On information and belief, CommScope makes, uses, offers for sale, sells, and/or imports

certain products (“Accused Instrumentalities”), including 802.11ac and 802.11ax-compliant sta-

tion and access point products that support 80+80 MHz channel width, including without limitation

Ruckus R750, that directly infringe, literally and/or under the doctrine of equivalents, at least

Claim 1 of the ’802 Patent.

21.    CommScope also knowingly and intentionally induces infringement of at least Claim 1 of

the ’802 Patent in violation of 35 U.S.C. § 271(b). Through at least the filing and service of this




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Complaint, CommScope has had knowledge of the ’802 Patent and the infringing nature of the

Accused Instrumentalities. Despite this knowledge of the ’802 Patent, CommScope continues to

actively encourage and instruct its customers and end users (for example, through user manuals

and online instruction materials on its website) to use the Accused Instrumentalities in ways that

directly infringe the ’802 Patent. CommScope does so knowing and intending that its customers

and end users will commit these infringing acts. CommScope also continues to make, use, offer

for sale, sell, and/or import the Accused Instrumentalities, despite its knowledge of the ’802 Patent,

thereby specifically intending for and inducing its customers to infringe the ’802 Patent through

the customers’ normal and customary use of the Accused Instrumentalities.

22.    CommScope has also infringed, and continue to infringe, at least Claim 1 of the ’802 Patent

by selling, offering for sale, or importing into the United States, the Accused Instrumentalities,

knowing that the Accused Instrumentalities constitute a material part of the inventions claimed in

the ’802 Patent, are especially made or adapted to infringe the ’802 Patent, and are not staple

articles or commodities of commerce suitable for non-infringing use. CommScope has been, and

currently is, contributorily infringing the ’802 Patent in violation of 35 U.S.C. §§ 271(c) and (f).

23.    The Accused Instrumentalities satisfy all claim limitations of one or more claims of

the ’802 Patent. A claim chart comparing independent claim 1 of the ’802 Patent to representative

Accused Instrumentalities is attached as Exhibit 2.

24.    By making, using, offering for sale, selling and/or importing into the United States the

Accused Instrumentalities, CommScope has injured Plaintiff and are liable for infringement of

the ’802 Patent pursuant to 35 U.S.C. § 271.

25.    As a result of CommScope’s infringement of the ’802 Patent, Plaintiff is entitled to mone-

tary damages in an amount adequate to compensate for CommScope’s infringement, but in no




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event less than a reasonable royalty for the use made of the invention by CommScope, together

with interest and costs as fixed by the Court.

                                      Jury Trial Demanded

26.       Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Cobblestone requests a trial

by jury of any issues so triable by right.

                                         Prayer for Relief

          Plaintiff Cobblestone respectfully requests the following relief from this Court:

A.        A judgment in favor of Cobblestone that CommScope has infringed, either literally and/or

under the doctrine of equivalents, the ’802 Patent, and that the ’802 Patent are valid, enforceable,

and patent-eligible;

B.        A judgment and order requiring CommScope to pay Cobblestone compensatory damages,

costs, expenses, and pre-judgment and post-judgment interest for its infringement of the Asserted

Patent, as provided under 35 U.S.C. § 284;

C.        Any and all injunctive and/or equitable relief to which Cobblestone may be entitled includ-

ing, but not limited to, ongoing royalties with respect to CommScope’s infringement of the ’802

Patent;

D.        A judgment and order requiring CommScope to provide an accounting and to pay supple-

mental damages to Cobblestone, including, without limitation, pre-judgment and post-judgment

interest;

E.        A judgment and order finding that this case is exceptional under 35 U.S.C. § 285, and an

award of Cobblestone’s reasonable attorney’s fees and costs; and

F.        Any and all other relief to which Cobblestone may be entitled.




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Dated: September 29, 2023                Respectfully submitted,

                                         /s/ Reza Mirzaie
                                         /s/ Reza Mirzaie
                                         Reza Mirzaie
                                         CA State Bar No. 246953
                                         Marc A. Fenster
                                         CA State Bar No. 181067
                                         Neil A. Rubin
                                         CA State Bar No. 250761
                                         Christian W. Conkle
                                         CA State Bar No. 306374
                                         Amy E. Hayden
                                         CA State Bar No. 287026
                                         Jonathan Ma
                                         CA State Bar No. 312773
                                         Jacob R. Buczko
                                         CA State Bar No. 269408
                                         Peter Tong
                                         TX State Bar No. 24119042
                                         Matthew D. Aichele
                                         VA State Bar No. 77821
                                         RUSS AUGUST & KABAT
                                         12424 Wilshire Boulevard, 12th Floor
                                         Los Angeles, CA 90025
                                         Telephone: 310-826-7474
                                         Email: rmirzaie@raklaw.com
                                         Email: mfenster@raklaw.com
                                         Email: nrubin@raklaw.com
                                         Email: cconkle@raklaw.com
                                         Email: ahayden@raklaw.com
                                         Email: jma@raklaw.com
                                         Email: jbuczko@raklaw.com
                                         Email: ptong@raklaw.com
                                         Email: maichele@raklaw.com

                                         ATTORNEYS FOR PLAINTIFF,
                                         COBBLESTONE WIRELESS, LLC




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